          Case 1:20-cv-01015-RP Document 9-1 Filed 10/05/20 Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

LAURIE-JO STRATY, TEXAS ALLIANCE
FOR RETIRED AMERICANS, and
BIGTENT CREATIVE,
                                                       Civil Action No. 1:20-cv-1015-RP
                   Plaintiffs,
                                                       Related to:
vs.                                                    Texas League of United Latin American
                                                       Citizens v. Abbott, No. 1:20-cv-1006
GREGORY ABBOTT, in his official capacity
as Governor of the State of Texas; RUTH
HUGHS, in her official capacity as Texas
Secretary of State,

                   Defendants.


      [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR TEMPORARY
             RETRAINING ORDER AND PRELIMINARY INJUNCTION

        Before the Court is the Motion for a Temporary Restraining Order and Preliminary

Injunction (the “Motion”) of Plaintiffs Laurie-Jo Straty, Texas Alliance For Retired Americans,

and Bigtent Creative (together, “Plaintiffs”). Having reviewed any papers filed in support of and

in opposition to this Motion, and being fully advised, the Court finds that Plaintiffs have

demonstrated a strong likelihood of success on the merits, the possibility that they face immediate,

irreparable injury from Defendants’ conduct, and that temporary and preliminary injunctive relief

will not disserve the public interest. Accordingly, Plaintiffs are entitled to a temporary restraining

order and preliminary injunction relief.

        IT IS THEREFORE ORDERED that, pursuant to Federal Rule of Civil Procedure 65 and

Local Civil Rule 65, the Court GRANTS Plaintiffs’ Motion as follows:

        (1) The Court temporarily restrains Defendants, their agents, officers, employees, or
        successors, and all persons acting in concert with each or any of them, from taking any
        action to inhibit election administrators from offering more than one drop-off location for
        ballots in their respective counties;
       Case 1:20-cv-01015-RP Document 9-1 Filed 10/05/20 Page 2 of 2




     (2) The Court preliminarily enjoins Defendants, their agents, officers, employees, or
     successors, and all persons acting in concert with each or any of them, from taking any
     action to inhibit election administrators from offering more than one drop-off location for
     ballots in their respective counties

     (3) This Temporary Restraining Order and Preliminary Injunction shall take effect
     immediately and shall remain in effect pending trial in this action or further order of this
     Court.



SIGNED: ____________________________________
         Hon. Robert Pitman
         United States District Judge




                                             -2-
